                    Case 16-04925                  Doc 1        Filed 02/16/16 Entered 02/16/16 16:25:52                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                          Chapter you are filing under:

                                                                                     Chapter 7

                                                                                     Chapter 11

                                                                                     Chapter 12

                                                                                     Chapter 13                                       Check if this an amended
                                                                                                                                      filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                      About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.    Your full name

      Write the name that is on       Samantha
      your government-issued          First name                                                      First name
      picture identification (for
      example, your driver's          J
      license or passport).           Middle name                                                     Middle name
      Bring your picture
                                     Mowry
      identification to your meeting
                                     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
      with the trustee.




2.    All other names you have
      used in the last 8 years
      Include your married or
      maiden names.



3.    Only the last 4 digits of
      your Social Security
      number or federal               xxx-xx-3575
      Individual Taxpayer
      Identification number
      (ITIN)




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Debtor 1   Samantha J Mowry                                                                             Case number (if known)




                                 About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have             I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                Business name(s)
     doing business as names

                                 EINs                                                            EINs




5.   Where you live                                                                              If Debtor 2 lives at a different address:

                                 15601 117th Ave
                                 Orland Park, IL 60467
                                 Number, Street, City, State & ZIP Code                          Number, Street, City, State & ZIP Code

                                 Cook
                                 County                                                          County

                                 If your mailing address is different from the one               If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any       here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                         address.



                                 Number, P.O. Box, Street, City, State & ZIP Code                Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                   Check one:
     bankruptcy                          Over the last 180 days before filing this petition, I
                                         have lived in this district longer than in any other             Over the last 180 days before filing this petition, I have
                                         district.                                                        lived in this district longer than in any other district.

                                         I have another reason.                                           I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Samantha J Mowry                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                       Chapter 7

                                       Chapter 11

                                       Chapter 12

                                       Chapter 13



8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for                No.
     bankruptcy within the last
     8 years?                         Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases           No
    pending or being filed by
    a spouse who is not filing        Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your                   No.     Go to line 12.
    residence?
                                      Yes.     Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                        No. Go to line 12.

                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




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Debtor 1    Samantha J Mowry                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time             No.     Go to Part 4.
    business?
                                         Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?
                                          No.     I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                         No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                                  Code.

                                         Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
    alleged to pose a threat of No.
    imminent and identifiable                   What is the hazard?
    hazard to public health or Yes.
    safety? Or do you own
    any property that needs                     If immediate attention is
    immediate attention?                        needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,                Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




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Debtor 1    Samantha J Mowry                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of        I received a briefing from an approved credit                    I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection                I certify that I asked for credit counseling                     I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                         I am not required to receive a briefing about                    I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                                Incapacity.     I have a mental illness or a                   Incapacity.      I have a mental illness or a mental
                                                                mental deficiency that makes                                    deficiency that makes me incapable of
                                                                me incapable of realizing or                                    realizing or making rational decisions
                                                                making rational decisions                                       about finances.
                                                                about finances.

                                                Disability.     My physical disability causes                  Disability.      My physical disability causes me to be
                                                                me to be unable to participate                                  unable to participate in a briefing in
                                                                in a briefing in person, by                                     person, by phone, or through the
                                                                phone, or through the internet,                                 internet, even after I reasonably tried to
                                                                even after I reasonably tried to                                do so.
                                                                do so.

                                                Active duty.     I am currently on active military             Active duty.     I am currently on active military duty in
                                                                 duty in a military combat zone.                                a military combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver of credit counseling with the court.                      counseling with the court.




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Debtor 1    Samantha J Mowry                                                                                     Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.           Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                                     individual primarily for a personal, family, or household purpose.”
                                                      No. Go to line 16b.

                                                       Yes. Go to line 17.
                                   16b.           Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.

                                                      Yes. Go to line 17.
                                   16c.           State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under                  No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after                   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                       paid that funds will be available to distribute to unsecured creditors?
     excluded and                Yes.
     administrative expenses
     are paid that funds will be                      No
     available for distribution
     to unsecured creditors?                           Yes


18. How many Creditors do                 1-49                                               1,000-5,000                                  25,001-50,000
    you estimate that you
                                          50-99                                              5001-10,000                                  50,001-100,000
    owe?
                                          100-199                                            10,001-25,000                                More than100,000
                                          200-999

19. How much do you                       $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your assets to
                                          $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    be worth?
                                          $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                          $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion


20. How much do you                       $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your liabilities to
                                          $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    be?
                                          $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                          $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Samantha J Mowry
                                   Samantha J Mowry                                                        Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on         February 16, 2016                                   Executed on
                                                       MM / DD / YYYY                                                      MM / DD / YYYY




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
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Debtor 1   Samantha J Mowry                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Joseph R. Doyle                                                   Date         February 16, 2016
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Joseph R. Doyle
                                Printed name

                                Bizar & Doyle, LLC
                                Firm name

                                123 West Madison Street
                                Suite 205
                                Chicago, IL 60602
                                Number, Street, City, State & ZIP Code

                                Contact phone     312-427-3100                                  Email address         joe@bizardoylelaw.com
                                6279065
                                Bar number & State




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                                                                         Document     Page 19 of 57
 Fill in this information to identify your case:

 Debtor 1                   Samantha J Mowry
                            First Name                            Middle Name                            Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name                            Last Name

 United States Bankruptcy Court for the:                    NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                                          Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                    Your assets
                                                                                                                                                                    Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $               10,713.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $               10,713.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                    Your liabilities
                                                                                                                                                                    Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $                 8,302.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $               15,902.00


                                                                                                                                         Your total liabilities $                24,204.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 2,370.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 2,465.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

            Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
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 Debtor 1     Samantha J Mowry                                                                  Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $         3,463.83


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                       $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $              0.00

       9d. Student loans. (Copy line 6f.)                                                                     $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                   $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +$              0.00


       9g. Total. Add lines 9a through 9f.                                                               $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                       Case 16-04925             Doc 1          Filed 02/16/16 Entered 02/16/16 16:25:52                                  Desc Main
                                                                 Document     Page 21 of 57
 Fill in this information to identify your case and this filing:

 Debtor 1                  Samantha J Mowry
                           First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse, if filing)       First Name                      Middle Name                        Last Name

 United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                                                         Check if this is an
                                                                                                                                                     amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1:    Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?


           No. Go to Part 2.

         Yes. Where is the property?


 Part 2:    Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No

           Yes


  3.1      Make:        Honda                                 Who has an interest in the property? Check one           Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:       Accord                                         Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
           Year:        2005                                          Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:               67,600                  Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                         At least one of the debtors and another
           Value based on NADA
                                                                      Check if this is community property                        $4,275.00                 $4,275.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
           Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                 $4,275.00

 Part 3:    Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.



Official Form 106A/B                                                        Schedule A/B: Property                                                                 page 1
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 Debtor 1       Samantha J Mowry                                                                        Case number (if known)

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
       No
          Yes. Describe.....

                                    Miscellaneous used household goods                                                                                  $850.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
       No
          Yes. Describe.....

                                    Miscellaneous used electronics                                                                                      $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
        No
          Yes. Describe.....

                                    Miscellaneous books, tapes, CD's, etc.                                                                              $100.00


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
          No
         Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          No
         Yes. Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
          Yes. Describe.....

                                    Personal used clothing                                                                                              $450.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
          Yes. Describe.....

                                    Miscellaneous costume jewelry                                                                                       $150.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
          No
         Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
          No
         Yes. Give specific information.....




Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
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 Debtor 1           Samantha J Mowry                                                                                                   Case number (if known)


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                         $1,750.00


 Part 4:    Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                      Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
           Yes................................................................................................................

17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
       No
        Yes........................                                   Institution name:


                                                17.1.       Checking                                 Harris Bank                                                               $1,188.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
           Yes..................                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
            No
           Yes. Give specific information about them...................
                                     Name of entity:                                                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
           Yes. Give specific information about them
                                       Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
            Yes. List each account separately.
                                   Type of account:                                                  Institution name:

                                                401(k)                                               401(k) through employer - 100% exempt                                     $1,500.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
           Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
           Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).


Official Form 106A/B                                                                         Schedule A/B: Property                                                                   page 3
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 Debtor 1       Samantha J Mowry                                                                           Case number (if known)

          No
         Yes.............      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
          No
         Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          No
         Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
          No
         Yes. Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
       No
          Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                        Expected Tax Refund                                     Federal                               $2,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          No
         Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
              unpaid loans you made to someone else
          No
         Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
          Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                         value:

                                         Employer - Term Life Insurance - no
                                         cash surrender value                                                                                               $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
          No
         Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
         Yes. Describe each claim.........
Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 4
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 Debtor 1          Samantha J Mowry                                                                                                       Case number (if known)


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

35. Any financial assets you did not already list
            No
            Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                  $4,688.00

 Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.

           Yes. Go to line 38.



 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
              No. Go to Part 7.

             Yes. Go to line 47.


 Part 7:           Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                               $4,275.00
 57. Part 3: Total personal and household items, line 15                                                          $1,750.00
 58. Part 4: Total financial assets, line 36                                                                      $4,688.00
 59. Part 5: Total business-related property, line 45                                                                 $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                        $0.00
 61. Part 7: Total other property not listed, line 54                                              +                  $0.00
 62. Total personal property. Add lines 56 through 61...                                                        $10,713.00              Copy personal property total           $10,713.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $10,713.00




Official Form 106A/B                                                                Schedule A/B: Property                                                                            page 5
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 Fill in this information to identify your case:

 Debtor 1                  Samantha J Mowry
                           First Name                      Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)       First Name                      Middle Name                 Last Name

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

              You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

      2005 Honda Accord 67,600 miles                                                                                          735 ILCS 5/12-1001(c)
                                                                     $4,275.00                                 $2,400.00
      Value based on NADA
      Line from Schedule A/B: 3.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      Miscellaneous used household                                                                                            735 ILCS 5/12-1001(b)
                                                                         $850.00                                  $462.00
      goods
      Line from Schedule A/B: 6.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      Miscellaneous used electronics                                                                                          735 ILCS 5/12-1001(b)
                                                                         $200.00                                  $200.00
      Line from Schedule A/B: 7.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

      Miscellaneous books, tapes, CD's,                                                                                       735 ILCS 5/12-1001(a)
                                                                         $100.00                                  $100.00
      etc.
      Line from Schedule A/B: 8.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      Personal used clothing                                                                                                  735 ILCS 5/12-1001(a)
                                                                         $450.00                                  $450.00
      Line from Schedule A/B: 11.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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 Debtor 1    Samantha J Mowry                                                                           Case number (if known)

     Brief description of the property and line on            Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                    portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

     Miscellaneous costume jewelry                                                                                               735 ILCS 5/12-1001(b)
                                                                        $150.00                                   $150.00
     Line from Schedule A/B: 12.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     Checking: Harris Bank                                                                                     $1,188.00         735 ILCS 5/12-1001(b)
                                                                     $1,188.00
     Line from Schedule A/B: 17.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     401(k): 401(k) through employer -                                                                                           735 ILCS 5/12-704
                                                                     $1,500.00                                       100%
     100% exempt
     Line from Schedule A/B: 21.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

     Federal: Expected Tax Refund                                                                                                735 ILCS 5/12-1001(b)
                                                                     $2,000.00                                 $2,000.00
     Line from Schedule A/B: 28.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
            No

            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Samantha J Mowry
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     First Midwest Bank/na                    Describe the property that secures the claim:                  $8,302.00                 $4,275.00           $4,027.00
         Creditor's Name                          2005 Honda Accord 67,600 miles
                                                  Value based on NADA
                                                  As of the date you file, the claim is: Check all that
         3800 Rock Creek Blvd.                    apply.
         Joliet, IL 60431                              Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
       Debtor 1 only                                    An agreement you made (such as mortgage or secured
       Debtor 2 only                                   car loan)

       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another        Judgment lien from a lawsuit

        Check if this claim relates to a                Other (including a right to
       community debt                             offset)                                  Lien on vehicle

                                 Opened
                                 12/01/13
                                 Last Active
 Date debt was incurred          12/17/14                  Last 4 digits of account number        0001


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $8,302.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $8,302.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Samantha J Mowry
                              First Name                       Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                       Middle Name                     Last Name

 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                             Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

              No. Go to Part 2.

              Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

              No. You have nothing to report in this part. Submit this form to the court with your other schedules.

              Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          Bank Of America                                          Last 4 digits of account number        7515                                                          $21.00
              Nonpriority Creditor's Name
              Attention: Recovery Department                                                                  Opened 1/06/00 Last Active
              4161 Peidmont Pkwy.                                      When was the debt incurred?            10/21/14
              Greensboro, NC 27410
              Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                       Debtor 1 only                                         Contingent
                     Debtor 2 only                                           Unliquidated
                     Debtor 1 and Debtor 2 only                              Disputed
                     At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

                     Check if this claim is for a community                  Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                          report as priority claims

                       No                                                    Debts to pension or profit-sharing plans, and other similar debts

                                                                            Other.
                     Yes                                               Specify




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 1 of 4
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 4.2      Chase Card                                                 Last 4 digits of account number       0867                                               $6,026.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/01/06 Last Active
          P.o. Box 15298                                             When was the debt incurred?           12/28/14
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                    Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.
                Yes                                                  Specify              Credit Card


 4.3      Comenity Bank/Buckle                                       Last 4 digits of account number       3682                                               $2,934.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 3/01/07 Last Active
          P.O. Box 182686                                            When was the debt incurred?           10/21/14
          Columbus, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                     Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.
                Yes                                                  Specify              Charge Account


 4.4      Credit One Bank                                            Last 4 digits of account number       2976                                                  $544.00
          Nonpriority Creditor's Name
                                                                                                           Opened 9/01/13 Last Active
          Po Box 98873                                               When was the debt incurred?           11/18/14
          Las Vegas, NV 89193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                    Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.
                Yes                                                  Specify              Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 4
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                                                                 Document     Page 31 of 57
 Debtor 1 Samantha J Mowry                                                                                Case number (if know)

 4.5      GECRB/Home Design                                          Last 4 digits of account number       4941                                                  $724.00
          Nonpriority Creditor's Name
          Attn: bankruptcy                                                                                 Opened 7/01/13 Last Active
          Po Box 103104                                              When was the debt incurred?           10/22/14
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                     Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.
                Yes                                                  Specify              Charge Account


 4.6      GECRB/JC Penny                                             Last 4 digits of account number       4284                                                  $847.00
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                                                            Opened 2/01/07 Last Active
          Po Box 103104                                              When was the debt incurred?           2/04/15
          Roswell, GA 30076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                    Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.
                Yes                                                  Specify              Charge Account


 4.7      Northland Group, Inc.                                      Last 4 digits of account number       3575                                                     $0.00
          Nonpriority Creditor's Name
          PO Box 390846                                              When was the debt incurred?           2015
          Minneapolis, MN 55439
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                     Student loans
          debt                                                            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.          Collection Account for Citibank. Notice
                Yes                                                  Specify              only.




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                Case 16-04925                    Doc 1          Filed 02/16/16 Entered 02/16/16 16:25:52                                         Desc Main
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 Debtor 1 Samantha J Mowry                                                                                Case number (if know)

 4.8       Sears/cbna                                                Last 4 digits of account number       5682                                               $4,806.00
           Nonpriority Creditor's Name
                                                                                                           Opened 7/01/07 Last Active
           Po Box 6283                                               When was the debt incurred?           2/04/15
           Sioux Falls, SD 57117
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                 Debtor 1 only                                            Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                    Student loans
           debt                                                           Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                 No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                          Other.
                Yes                                                  Specify              Credit Card

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                   Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00

                                                                                                                                   Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                     15,902.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                     15,902.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                       Case 16-04925               Doc 1           Filed 02/16/16 Entered 02/16/16 16:25:52                            Desc Main
                                                                    Document     Page 33 of 57
 Fill in this information to identify your case:

 Debtor 1                  Samantha J Mowry
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name

 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                     Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                       Case 16-04925                 Doc 1           Filed 02/16/16 Entered 02/16/16 16:25:52                 Desc Main
                                                                      Document     Page 34 of 57
 Fill in this information to identify your case:

 Debtor 1                   Samantha J Mowry
                            First Name                           Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name          Last Name

 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

              No
              Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

              No. Go to line 3.
              Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Walter Mowry                                                                               Schedule D, line  2.1
                15603 117th Ave
                Orland Park, IL 60467                                                                     Schedule E/F, line
                                                                                                          Schedule G
                                                                                                      First Midwest Bank/na




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Samantha J Mowry

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                                Check if this is:
(If known)
                                                                                                                      An amended filing
                                                                                                                      A supplement showing postpetition
                                                                                                              chapter 13 income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                   Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                        Employed                                   Employed
       attach a separate page with            Employment status
       information about additional                                       Not employed                                  Not employed
       employers.
                                              Occupation              Associate Manager
       Include part-time, seasonal, or
       self-employed work.                    Employer's name         Ulta
       Occupation may include student or Employer's address
       homemaker, if it applies.
                                                                      7350 191st St
                                                                      Tinley Park, IL 60477

                                              How long employed there?           3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                              non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        3,463.00        $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00      +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      3,463.00              $        N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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                                                        Document     Page 36 of 57

Debtor 1    Samantha J Mowry                                                                       Case number (if known)



                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse
      Copy line 4 here                                                                      4.         $      3,463.00       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                  5a.        $        935.00       $               N/A
      5b.    Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.    Insurance                                                                      5e.        $        158.00       $               N/A
      5f.    Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.    Union dues                                                                     5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.     $          1,093.00       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     $          2,370.00       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                            8b.        $              0.00   $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                         8d.        $              0.00   $               N/A
      8e.    Social Security                                                                8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                      8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                    8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $           2,370.00 + $            N/A = $          2,370.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.   +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.     $          2,370.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
              No.
              Yes. Explain:




Official Form 106I                                                       Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1               Samantha J Mowry                                                                        Check if this is:
                                                                                                                   An amended filing
Debtor 2                                                                                                           A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                                expenses as of the following date:

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                                MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?

             No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                    No
      Do not list Debtor 1 and                        Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                           Yes.        each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                          No
      dependents names.                                                                                                                         Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
3.    Do your expenses include                         No
      expenses of people other than
      yourself and your dependents?                   Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                             4. $                            1,200.00

      If not included in line 4:

      4a.   Real estate taxes                                                                                4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                       4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                    4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                        4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5.    $                             0.00




Official Form 106J                                                      Schedule J: Your Expenses                                                            page 1
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Debtor 1     Samantha J Mowry                                                                           Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                   6a. $                                                  0.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                  0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                   6c. $                                                300.00
      6d. Other. Specify:                                                                      6d. $                                                  0.00
7.    Food and housekeeping supplies                                                            7. $                                                300.00
8.    Childcare and children’s education costs                                                  8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                       9. $                                                100.00
10.   Personal care products and services                                                      10. $                                                 50.00
11.   Medical and dental expenses                                                              11. $                                                 50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                                  70.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                  50.00
14.   Charitable contributions and religious donations                                         14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                   0.00
      15b. Health insurance                                                                   15b. $                                                   0.00
      15c. Vehicle insurance                                                                  15c. $                                                  80.00
      15d. Other insurance. Specify:                                                          15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                   0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                265.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                           $                                                  0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                   0.00
      20b. Real estate taxes                                                                  20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                       20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                        20e. $                                                   0.00
21.   Other: Specify:                                                                          21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       2,465.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       2,465.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              2,370.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                             2,465.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  -95.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
           No.
           Yes.           Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                  Samantha J Mowry
                           First Name                      Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                      Middle Name              Last Name

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Samantha J Mowry                                                      X
              Samantha J Mowry                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date      February 16, 2016                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Samantha J Mowry
                           First Name                      Middle Name                   Last Name

 Debtor 2
 (Spouse if, filing)       First Name                      Middle Name                   Last Name

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived       Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                             lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                Gross income                   Sources of income               Gross income
                                                  Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                   exclusions)                                                    and exclusions)

 From January 1 of current year until                  Wages,                                    $3,411.00            Wages, commissions,
 the date you filed for bankruptcy:                                                                               bonuses, tips
                                                  commissions, bonuses,
                                                  tips
                                                                                                                       Operating a business
                                                        Operating a business




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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 Debtor 1     Samantha J Mowry                                                                             Case number (if known)



                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income                   Sources of income             Gross income
                                                   Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                                   exclusions)                                                  and exclusions)

 For last calendar year:                                Wages,                                 $41,030.00             Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                bonuses, tips
                                                   commissions, bonuses,
                                                   tips
                                                                                                                       Operating a business
                                                        Operating a business

 For the calendar year before that:                     Wages,                                 $37,328.00             Wages, commissions,
 (January 1 to December 31, 2014 )                                                                                bonuses, tips
                                                   commissions, bonuses,
                                                   tips
                                                                                                                       Operating a business
                                                        Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                       Debtor 2
                                                   Sources of income               Gross income                   Sources of income             Gross income
                                                   Describe below..                (before deductions and         Describe below.               (before deductions
                                                                                   exclusions)                                                  and exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you paid that
                                 creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                 payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                   payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                   this bankruptcy case.


       Creditor's Name and Address                              Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                    paid             still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                        Date                        Value of the
                                                                                                                                                            property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                        Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                Describe the gifts                                      Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                        Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                  Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                                                                                 loss                             lost
                                                           Include the amount that insurance has paid. List pending
                                                           insurance claims on line 33 of Schedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or            Amount of
       Address                                                        transferred                                            transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Bizar & Doyle, LLC                                                                                                    2015                         $750.00
       123 W. Madison Street
        Suite 205
       Chicago, IL 60602


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or            Amount of
       Address                                                        transferred                                            transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                 Describe any property or         Date transfer was
       Address                                                        property transferred                     payments received or debts       made
                                                                                                               paid in exchange
       Person's relationship to you




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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                    Date Transfer was
                                                                                                                                          made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or       Date account was   Last balance before
       Address (Number, Street, City, State and ZIP             account number                instrument               closed, sold,       closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State                                    have it?
                                                                     and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City, State
                                                                     and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5

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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                    Status of the
       Case Number                                                   Name                                                                             case
                                                                     Address (Number, Street, City, State
                                                                     and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6

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 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Samantha J Mowry
 Samantha J Mowry                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date      February 16, 2016                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
      No
     Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      No
     Yes. Name of Person                . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7

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 Fill in this information to identify your case:

 Debtor 1                  Samantha J Mowry
                           First Name                      Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                      Middle Name               Last Name

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
       creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's          First Midwest Bank/na                                Surrender the property.                             No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a                Yes
    Description of        2005 Honda Accord 67,600                          Reaffirmation Agreement.
    property              miles
                                                                            Retain the property and [explain]:
                          Value based on NADA
    securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                      Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Samantha J Mowry                                                        X
       Samantha J Mowry                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        February 16, 2016                                               Date




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                             page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +         $15     trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A–1) if you                                     as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations                                                 $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and                                         Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount                                        but is also available to individuals. The provisions of
 available to pay unsecured creditors. If                                                 chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 3

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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 4

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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Samantha J Mowry                                                                                Case No.
                                                                                  Debtor(s)                  Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    750.00
             Prior to the filing of this statement I have received                                       $                    750.00
             Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:

                                   Debtor                                         Other (specify):

3.     The source of compensation to be paid to me is:

                                   Debtor                                         Other (specify):

4.              I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

               I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm.
            A copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances or any other adversary
               proceeding.
                                                                          CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 16, 2016                                                           /s/ Joseph R. Doyle
     Date                                                                        Joseph R. Doyle 6279065
                                                                                 Signature of Attorney
                                                                                 Bizar & Doyle, LLC
                                                                                 123 West Madison Street
                                                                                 Suite 205
                                                                                 Chicago, IL 60602
                                                                                 312-427-3100 Fax: 312-427-5400
                                                                                 joe@bizardoylelaw.com
                                                                                 Name of law firm




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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Samantha J Mowry                                                                            Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 10




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: February 16, 2016                                               /s/ Samantha J Mowry
                                                                       Samantha J Mowry
                                                                       Signature of Debtor




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                      Bank Of America
                      Attention: Recovery Department
                      4161 Peidmont Pkwy.
                      Greensboro, NC 27410


                      Chase Card
                      P.o. Box 15298
                      Wilmington, DE 19850


                      Comenity Bank/Buckle
                      Attn: Bankruptcy
                      P.O. Box 182686
                      Columbus, OH 43218


                      Credit One Bank
                      Po Box 98873
                      Las Vegas, NV 89193


                      First Midwest Bank/na
                      3800 Rock Creek Blvd.
                      Joliet, IL 60431


                      GECRB/Home Design
                      Attn: bankruptcy
                      Po Box 103104
                      Roswell, GA 30076


                      GECRB/JC Penny
                      Attention: Bankruptcy
                      Po Box 103104
                      Roswell, GA 30076


                      Northland Group, Inc.
                      PO Box 390846
                      Minneapolis, MN 55439


                      Sears/cbna
                      Po Box 6283
                      Sioux Falls, SD 57117


                      Walter Mowry
                      15603 117th Ave
                      Orland Park, IL 60467
